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                               IN THE I.TNITED STATES DISTRICT COURT
                                  SOUTHERN DISTRICT OF ALABAMA
                                         SOUTHERN DIVISION
ORLANDO BETHEL
GLYNIS BETHEL, and Next Friends
Zoe Bethel ; Kezia Bethel and
Zion Bethel individuals
               Plaintiffs,
vs.                                                      CivilActionNo.: \ S -U<\            -\,os- b
                                                         Jury Demand/42 USC 1983/Class Action
                                                         42 USC 2000d7
                                                         Title II 1964 Civil Rieits Acts.
                                                     j
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                     ..-.,."    'r:
                                 :.     t",--';'
                                                         AlabamaCon$tiitti6itlgittb++i";Sdrititsrti20l:',
                                                         (aXd); Section 2A3 and Section 204
The Cify of Bay Minette; Mayor Jamie
Tillery; Officer Jonathan Hall; Sgt. H.L.
Vernon; Judge Bayless E. Biles; Sergeant
Ryan Robinson; Officer Renee' Peebles;
Lieutenant Ruff,rn Crook; Chief Michael
Rowland; Baldwin County, Alabama;
Burkes Outlet; Bealls, Inc.; Manager Carol
Robinson; Attomey Scott Lewis
              Defendants


             PRELIMINARY AND PERMANENT INJUNCTISN AND DAMAGES
        FOR VIO
                    THIS COURT THAT TI{E
         I2O DAY STIPULATION IN ORDER TO PERFECT SERVICE OF SUMMONS
      ACCORDING TO THE FEDERAL RULES OF CTVIL PROCEDURE FRCP RULE 4(.m)
                  SANCTIONED BY THE LAW OR 14TH AMENDMENT
          ALSO AN APPLICATION OR IFP TO WAIVE FEES WILL BE SUBMITTED
               SUBSEOT]ENTLY BEFORE THE I2O DAYS HAVE EXPIRED

COMES NOW Plaintiff ORLANDO BETHEL AND GLYNIS BETHEL who respecttully

requests this Court to issue Declaratory Judgment, Preliminary and Permanent Injunctive Relief

and Damages with grounds of jurisdiction and states his and her claim for damages against the

Defendants for violations of the Plaintiffs' civil and constitutional rights. Below please read a

Summary for the basis for the Plaintiffs' claims. Orlando and Glynis Bethel challenges

Defendant(s) practices on its face and as applied;
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                                       INTRODUCTION
1.       This is a civil action whereby Plaintiffs seeks Declaratory Judgment, Preliminary and

     Permanent Injunctive Relief and Damages under 28USC 1331; 28 USC 1346;42 USC 2000d7

     and 42 USC 1993 against Defendant(s) being sued in both OFFICIAL AND INDWIDUAL

     CAPACITY for violation(s) of civil; state and US constitutional rights; This is a civil action

     whereby Plaintiffs seek Declaratory Judgment, Preliminary and Permanent Injunctive Relief and

     Damages. Plaintiffs seek Declaratory Judgment against the State of Alabama; and seek

     Preliminary and Permanent Injunctive Relief, enjoining Defendants, Burke's Outlet Stores, Inc.,

     its agents, servants and employees and those acting in active concert and with actual notice

     thereof (hereinafter sometimes collectively referred to as ooBurke's Outlet Defendants"); City of

     Bay Minette, Alabama, its Mayor Jamie Tillery, Police Department, its agents, servants and

     employees and those acting in active concert and with actual notice thereof (hereinafter

     sometimes collectively referred to as "City of Bay Minette Defendants"), from discriminatorily

     enforcing Code of Alabana Trespassing law, (hereinafter sometimes collectively referred to as

     "AIabarn Trespassing Code") against Plaintiffs as a direct result of the Plaintiffs' religious

     beliefs and religious expression, and from acting in such a manner as to violate Plaintiffs' rights

     protected under Title II of the 1964 Civil rights Act to Freedom of Speech, Free Exercise of

     Religion and Equal Protection, guaranteed under the First and Fourteenth Amendments to the

     United States Constitution:

2.      As a result of time restraints, the Plaintiffs have not listed AGAIN the name of Defendants

     listed in this suit above including any additional information such as an address;

a
J.      Plaintiffs request that the attomeys waive service of summons according to the FRCP

      (d)(2)(after the initial 120 days according to FRCP 4(m);
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4.      According to the law 28 USC 1915 Plaintiffs make notice to this court that they will proceed

     without prepayment of fees based upon the fact they are entitled to redress and will reveal only

     assets as stated and prescribed in the law;

               SUMMARY OF STATEMENTS OF FACTS (AND ARGUMENTS
         THE CITY OF BAY MINETTE" ALABAMA CORRESPONDENCE (MAYOR)
5.      On May 11,2009 a letter was served upon Mayor Jamie Tillery pertaining to the illegally and

     unconstitutional behavior of the merchants in her city;

6.      After writing the Notice of Claim (posted below) the witch Mayor Jamie Tillery had the

     Plaintiffs Glynis Bethel and Orlando Bethel falsely arrested and imprisoned for revenge;

7.        "Comes now Orlando Bethel and Glynis Bethel and Zoe Bethel, Keziu Bethel and Zion
     Bethelfirst giving honor to God in the name of the Father, Son (Jesus) and the Holy Spirit;
     8. This letter is Notice of Claimto be serveduponthe Mayor "JamieTitlery" of the city of Bay
         Minette Burkes Outlet according to Sections: 11-47-23 and 1l-47-192, Code of Alabarna,
         1975, andfulfills the established statutory scheme that requires Orlando Bethel and Glynis
         Bethel individurslly, and ORLANDO BETHEL and GLYNIS BETHEL as Next friends of
         minor children ZOE BETHEL, KEZA BETHEL and ZION BETHEL, who are notifying the
         Bay Minette Burkes Outlet of a potential suit for violations of civil and constitutional rights
         under the FIRST AND FOURTEENTH AMENDMENTS, putting all parties named as
        possible Defendants on Notice of claim. The location where this occurred is in BurkBs Outlet
         Bay Minette Alabama Department store ...A PLACE OPENED TO THE PUBLIC:
                        FIRST AMENDMENT TO THE US CONSTITUTION
     9. Congress shall make no law respeeting an establishment of religion, or prohibiting thefree
            exercise thereof; or abridging thefreedom of speech, or of the prcss; or the right of the
          people peaceably to assemble, and to petition the Governmentfor a redress of grievances.
     10. The Bethels, especially Glynis Bethel, are claiming that Mrs. Carol Robinson, the Manager
         of Bay Minette Burkes Outlet, violated their constitution rights by treating her dffirently
         based SOLEY on her Religious speechwhich is also a denial of equal protection af the laws;
         denial of due process of the laws to be treated in the ssme manner as other citizens and
         customers that shop and express their religious beliefs in the Bay Minette Burkes Outlet
         stores ; and improper training and negligence or derelict of fficial duties and blatant
         disrespect and disregardfor not only the Alabama Constitution, but also the United States
         Constitution. Glynis Bethel, who isfilledwith GOD'S HOLY SPIRIT andwho loves GOD is
         a very sweet and good customer and is not in any way a disruptive customer nor does her
         Religious speech quality as "disruptive," nor "heressing the customers nor anyone." The
         Bethels challenge this motion by the Bay Minette Burkps Outlet and interprets the actions of
         the Manager Mrs. Carol Robinson and has harassment against the Religion of Glynis Bethel
         and her Family's authority to teach her the truth of GOD'S words.
     11. TO ll/HOM THIS MAy CONCERN:fuE: Civil Rights violations of the Alabama
         Constitution specifically the Alabama Religious Freedom Amendment (622): ALABAMA
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     DECLARATION OF MGHTS (Article I of the l90I Constitution af Alabama) As amended
     through 1966 ARTICLE L DECLARATION OF fuIGHTS That the great, general, and
     essential principles of liberty and free government may be recognized and established, we
     declare: Sec. I That all men ore equally free and independent; that they are endowed by
     their Creator with certain inalienable rights; that among these are life, liberty and the
    pursuit of happiness. Sec. 2 That all political power is inherent in the people, and all free
     governments are founded on their authority, and instituted for their benefit; and that,
     therefore, they have at all times cn inalienable and indefeasible right to change their form of
    government in such manner as they may deem expedient. Sec. 3 That no religion shall be
     established by latv; that no preference shall be given by law to any religious sect, society,
     denomination, or mode ofworship; that no one sholl be compelled by latu to attend any place
     of worship; nor to pay any tithes, tarces, or other rate for building or repairing any place of
     worship, or for maintaining arry minister or ministry; that no religious test shall be required
     as a qualification to any ffice or public trust under this state; and that the civil rights,
    privileges, and capacities of arry citizen shall not be in any manner affected by his religious
    principles. Sec. 4 That no law shall ever be passed to curtail or restrain the liberty of speech
     or of the press; and any person lnay speak, write, and publish his sentiments on all subjects,
     being responsible for the abuse of that liberty. And, to guard against any encloachments on
     the rights herein retained, we declare that everything in this Declaration of Rights is
     accepted out of the general powers of government, and shallfarever remain inviolate.
12. Also Section 25 gives Glynis Bethel the Right to peaceably assemble in a public place and
    petition the government for redress of grievances and the rights of Orlando Bethel snd
     Glynis Bethel under the United States Constitution to sue f Glynis Bethel's Religious
     liberties are violated by a governmental fficial acting on behalf of the Bay Minette Burkes
     Outlet
13. This letter is to serve notice that both Orlando Bethel and Glynis Bethel (and the children of
     both parties) hereby make claims against: parties named for Civil Rights violations.
    According to laws for STATE ACTION: "Infederal Civil Rights Acts dating back to 1875,
     any activity by the government of a state, any of its components or employees (ike a sherffi
     who uses the 'color of law' (claim of legal right) to violate an individual's civil rights. Such
      'state action' gives the person whose rights have been violated by a governmental body or
     fficial the right to sue that agency or personfor damnges." For violations of both Orlando
     Bethel and Glynis Bethel's (and the children of both parties) Civil Rights [religious
     discriminationJ and personal injuries which included Glynis Bethel suffering humiliation,
    pain and suffering, anguish, distress, emotional distress, embarrassment and general
     damages as a direct result of her Religious speech;
14. This notice of claim is a document to help secure Religious liberties in Baldwin county. The
     mayor and the chief af police are being notified that it is their job to stop the government
     under their authority from violating basic constitutional rights including free speech;
    freedom of religion; freedom of religious speech and freedom of association with the general
    public and freedom of peaceable assembly with Baldwin County Alabama. This notice of
     claim never would have been issued if the Bay Minette Police Officer "Thompson" did not
     threatened to falsely arrest Glynis Bethel based solely upon her freedom of speech while in
     Burkes Outlet in which the 1964 Civil Right Acts protects people, who exercise their religion
     in a private place opened to the general public, from being illegally banned from a private
     business based solely upon their religion.
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15. If the city of Bay Minette continues to violate our rights offreedom of our religion to
    proselytize tn a private business which is to be considered public, we will pursue litigation in
     ether state court in Alabama in order ta secure religious liberties and Jesus Christ in
     America so help me God. May 11, 2009 (Incident Date):
16. The Civil Rights violation of Glynis Bethel andfamily hqs included a threat of [falseJ arrest,
     by the police fficer WITHOUT PROBABLE CAUSES in which no crime was committed.
     (whichwas caught live onvideo tape;
17. On May 11, 2009, Glynk Bethel and her family, were at the Burkes Outlet in Bay Minette
     Alabama shopping. Glynis Bethel decided to expressed her Religious beliefs and wanted to
    pray with one of the employees "Katy Roberts" ; Glynis Bethel began to say a prayer with
     Katy Roberts;
 18. Glynis Bethel expressedher Religious beliefs andwas informed by the Manager" Mrs Carol
     Robinson" not to express her beliefs in the Burkes Outlet;
19. Glynis Bethel continued to express her Religious beliefs and the Manager "Mrs. Carol
     Robinson" colled the Bay Minette Police;
20. The Officers "Thompson" end "Hill" showed up to the Burkps Outlet and stood at the cash
     register wltere Glynis Bethel and her Family were checking out; both fficers silently
     watchedwhile Glynis Bethel proceeded in her religious exercise of herfree speech and she
     questioned the police about their Religion;
21. Mrs. Csrol continued to harass Glynis Bethel while she was checking out; Glynis Bethel and
     her family went gone to their car and had to go back inside af the Burkes Outlet to get their
     discount card stamped,
22. After Glynis Bethel looked back into the store through the glass, The two fficers came out of
     the Burkes Outlet and threatened Glynis Bethel with (FALSE) arrest;
23. Mr. Thompson, without probable causes, asked Mrs. Glynis Bethel if she wanted to go to jail;
     or to be arrested ( to paraphrase)";
                             BURKES' OUTLET CORRESPONDENCE ( FT h;b i{-                       A)
24. "DEMAND LETTER FOR CIWL RTGHTS VIOLATIONS AND SETTLEMENT
     AGREEMENT; Conrad Szymanski, President, Beals Outlet Stores, Iitc-,1B06 3B'h Ave East,
     Bradenton, Florida 34208, (941) 747-2355 phone, (941) 746-II7I fax
25. RE: Civil Rights and Religious Discrimination Violation Dates May 28, 2009 and June 20,
     2009:
26. This demand letter is afollow up to the Notice of Claim previously served upon the Burkes
     Outlet Store and an effart to settle the civil rights violations that occurred at your Burkes
     Outlet Store in Bay Minette, Alabama against me, which resulted in me beingfalsely arrested
    for trespassing solely because of my sincerely held religious beliefs and in efforts to
     unlawfully punish me for having such religious beliefs. I am a lcnown civil and religious
     rights advocate here in Baldwin County, Alabama and I am also an attorney pro se. I will be
     representing myself against Burkes Outlet if litigation is necessary and Burkes Outlet Stores,
     Inc. decides not to settle this matter;
27. The actions of the Burkes Outlet Store employee ("Carol Robinson") were malicious,
     intentional and committedwith the intent to cause me to suffer the pain affalse arrest and
    false imprisonment lcnowingly, which is a uime under Alabama Statute: $ 13A-10-9 (falsely
     reporting a crime). Further, your emplayee Carol Robinson's actions as the manager of
     Burkes Outlet, were inviolation of Title II of the 1964 Civil Rights Act, Sections 202 and 203
     in that she intentionallyfalsely initiated State laws and action to deprived me of civil rights
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   and privileges offreedom from religious discrimination, the freedom of association and the
    right to be free from unreasonable search and seizure etc. which are protected and
    guaranteed rights to me also under the Alabama Constitution of 1901, Section 3; and the
    Alabama Religious Freedom Amendment, Sections I through V. Burkes Outlet Inc. is further
    responsible for this flagrant violotion of my constitutional and civil rights because you were
    placed on notice before myfalse arrest to thoroughly investigate your employee's illegal
    actions but you refuse;
28. Your Store manager's actions were sdditionally egregious because she used la,v fficers to
    intimidate, threaten, coerce and punish me for exercising my civil rights by treating me as a
    criminal even though I had not committed any violation of law or violated any known store
    policy nor wqs I in your store as falsely reported by Carol Robinson. Carol Robinson used
    her position as your store manager to have me falsely arrestedfor trespassingfor no other
    reason but that she clandestinely despises my sincerely held religious beliefs and the exercise
    of rny civil rights. Additionally, Carol Robinson's unlawful actions against me also gives me
    a claimfor libel and defomation under State and Federal laws because not only did Carol
    Robinson maliciously and intentianally make this false report to the police but it was also
    reported in the local newspaper and the news is currently circulated on the internet;
29. This type of egregious religious profiling and discrimination by your employee is the very
    cause for the establishment of the aforementianed State and Federal lows which gives a
    person who has been discriminated against by a business that serves the general public, the
    lawful right to sue the business and the person in Federal Court for money damages. As a
    result ofyour employee's bissed andunlawful treatment of myself, I have suffered
    embarrassment, mental anguish, pain, publtc humiliation, stress, andfalse arrest and
    imprisonmentfor which I am due money damages;
30. Your employees "Carol" and "Tim" have further made Burkes Outlet actions of religious
    discrimination subject to being exposed to the community through public protests infront of
    your stores, through the use ofvarious internet search engines, through contacting various
    news media and by word of mouth to local Churches and national Christian organizations
    who spend maney in your store, in which protests on the public property will possibly
    banlvupt your stores in this area. Whenever a private business such as yours has opened
    itself to serve the general public and demonstrates this kind of blatant discriminatory
    practice against a Christianfor praying, such a business is not wortlry of being patronized by
    the very class of people that it discriminates against;
31. If you do not settle, not only will Ifile a Federal lawsuitfor $1A0,000.00 (One Hundred
    Thousand Dollars) with a demandfor a jury trial butfurther Iwill also initiate a boycott and
    protest of Burkes Outlet/Beals Stores based upon your bold and unlatuful discrimination
    against religious or Christian customers at your stare. A Federal lawsuit, justfrom the
    Iitigationprocess alone will cost your companyfar more in time, money andpublic
    reputation than my mere settlement request. I have suffired malicious civil injury at the
    orchestration of Burkes Outlet and I am due damages for which I will recover through a
    settlement with you or by the Federal Court. GOD is with me andworking on my behalf,
32. Another issue inwhich Burkes outlet needs to be aware of is that I also have been in contact
    withformer employees of Burkes Outlet, who can testifu in court before a jury of Carol
    Robinson's unlawful and discriminatory actions against me as well as other violations of law
    bv Burkes Outlet:
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33. As a result, to settle this issue infull without having to initiate litigation in Federal Court,
    among the other listed actions, Iwill sign afull release of all of my lawful claims against
    Burkes Outlet in lieu of a settlement of:
34. Ten Thousand Dollars ($10,000.00) for my damages and;
35. Burkes Outlet Stores, Inc release and dissolve qny current trespsss issuance against myself;
36. I am also requesting that BOTH "Carol" and "Tim" befired as a result of their
    insubordination; criminal activity to violate basic constitutional rights and their attempts to
    interfere, deprive and punish me for exercising my civil rights and banning me from the store
    based SOLEY upon my Religion, and theirfailure to serve the "Notice of Claim," to the CEO
    and their refusal to notify the CEO of their unlawful actions against myself;
37. Cease any and all harassmentfrom any other Burkns Outlet Stores, Inc. ernployees against
    my family and me and to further be treated in the same manner as other patrons.
38. I am expecting to receive a releaseform and the requested monies in theform of a check in
    my name alongwith all of the other settlement agreement requesrc by Friday, September 25,
    2009";
39. On June 16,2009, Glynis Bethel, along with her minor daughter Kezia Bethel was going to

    shop at Burke Outlet; (WX<^ G\yn f       5 Be+he-\ w as 4d sf\v q\fe,fk J
    piz^ct_ Setl,et'r,,0as Kidnqppe& by police a^& de+a-ivlr,d)
40. Glynis Bethel was determined that she was going to go into all of the world and preach the

   gospel and Burke Outlet was not exempted from Christians or Religious speech INSIDE of

   their store;

41. With obeying GOD rather than man, Glynis Bethel put her $500.00 cash for bail bond in her

   wallet preparing for the illegal arrest based upon the comrpt govemmental officials being

   consistent in falsely arresting Glyms Bethel and her family;

42. Onthis date, Glynis Bethel offered prayer to the blonde young worker inside of the store;

43. The manager was on the phone talking to someone who Glynis Bethel believed to be the

   police;

44. The manager called out to Ms. Bethel and Glynis Bethel responded;

45. Later police or Defendants showed up at the Burkes Outlet store;

46. Sergearfi Ryan Robinson was on the false police report as the arresting officer, but his name

   was scratched off by someone
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  47. Fienee Peebles became the false arresting officer even though the name "Ryan Robinson"

       could still be seen on the paperwork;

  48. Glynis Bethel noticed that Carol Robinson and Ryan Robinson's last names were the same

       and believed the actions to be a conspiracy to violate constitutional rights by banning her

       from a facility opened to the general public in violation of the Alabama Constitution;

  49. Defendant and Attomey Scott Lewis, also the attomey for the Baldwin County Board of

       Education, was one of the attorneys for the City of Bay Minette and Glynis Bethel believed

       the false arrest to be a conspiracy to intimidate her into silence;

  50. On the false arrest paperwork with perjured lies, Defendants or other police personnel from

       the City of Bay Minette approved of the false arrest for trespassing;

              STATEMENT OF CLAIMS UPON WHICH RELIEF CAN BE GRANTED

  51. The Plaintiffs adopt every claim under the constitution for each and every violation by

       Defendants; Plaintiffs pray for Declaratory Judgment to determine the constitutionality of

       Defendants' Ordinance on its face and of Defendants' actions in denying Plaintiff Orlando

       the opportunity to exercise his rights and to declare Defendants' Ordinance or policy which

       misapplies the'otrespassing," criminal code to the Religious beliefs of the Plaintiffs is both on

       its face and as applied, unconstitutional as a direct violation of Plaintiffs' rights and a

       violation of the freedoms protected by the First and Fourteenth Amendments to the United

       States Constitution, and for an award of such damages as are directly and proximately caused

       by the Defendants'violations of the Plaintiffs' rights;

52.    Plaintiffs further pray for damages;

53.    An actual controversy exists between the parties involving substantial constitutional issues,

  in that Defendants' Ordinance is unconstitutional on its face and as applied, violates Plaintiffs'
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  rights to freedom ofspeech, equal protection and free exercise ofreligion guaranteed under the

  First and Fourteenth Amendments to the United States Constitution;

54.    The Plaintiffs states that the Defendants(s), through their actions listed in the Statement of

  Facts have violated their civil rights under the constitution of the United States;

55.    The (directly or indirectly) Defendants conspired to deprive and deprived (directly or

  indirectly) the Plaintifls of their rights protected by the Constitution and laws of the United

  States as follows; unreasonable search and seizure; Conspiracy to Violate Constitutional Rights

  by all Defendants; Malicious Abuse of Process; Violation of Alabama Constitution and the Civil

  Rights Act; Conspfuacy; Intentional Infliction of Emotional Distress; pain and suffering; anguish;

  embarrassment; humiliation; Negligence; willful and Knowingly Violation of Constitutional

  Rights of the Plaintiffs by the Defendants;

56.    The Defendants have violated Orlando and Glynis Bethel's Fourteenth (14th) Amendment

  due process and equal protection of the laws rights along with other violations of the (applicable)

  1t', 4ft, 5tn, 6s, 8'h, 13th, and 14th Amendments to the US Constifution;

                                PRAYER AND RELIEF REQUESTED

57.    The Plaintiffs incorporate all previous statements;

58.    The Plaintiffs pray for Declaratory Judgment, preliminary and permanent injunctive relief

  and damages including compensatory (anguish; intentional infliction of emotional distress; pain

  and suffering; embarrassments, etc.) damages of 10,000,000.00 (ten-million) and punitive

  damages in the amount of 50,000,000.00 (50-million) as a result of Plaintiffs' (i.e.: Glynis

  Bethel's) sufferings as a direct result of the Defendants' actions in violating Plaintiffs (I,e,:

  Glynis Bethel's) Constitutional riglrts;
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59.      The Plaintiffs pray that this court declare that the customs and practices forced upon the

      Plaintiff(s) by the Defendant(s) on its face and as applied are unconstitutional;

60. That the Defendant(s) did violate the Plaintiff(s) constitutional rights;
      Prayedully sabmitted, under penalties of perjury the Plaintffi pray that all of the contents are
      true and cotect to the best of their knowledge so help them GOD. In the name of the

                                                                     1/
                                                            Dated:A9dav of        T/n'' 2oro.
                                                             ox"dLaav of                    2010.
                           Attomey Pro Se)

      iffs (Attomeys Pro Se):
Orlando Bethel
Glynis Bethel
12724-D Hwy 90
Loxley, Alabama 36551
Phone/Fax : (25 l) 9 64 -99 5 5

(Please Pray: Father God in the name of Jesus, I repent of all of my sins. I believe that Jesus died
and rose again to save ma Please fill me with the gft of the Holy Spirit with the sign of speaking
witlt "new" tongues. In Jesus' name I pray...Amen.)




                                                                                                    10
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    Stephen Knopik
    President
    Burkes Outlet Stores, Inc.
    1806 38th Ave East
    Bradenton, Florida 34208
    (941)747-2355 phone
    (941) 746-1171 fax



    BE: Civil Rights and Religious Discrimination Violation Dates May 11,2009 and
    June 16,2009.

           This demand letter is a follow up to the Notice of Claim previously served upon
   the Burkes Outlet Store and an effort to settle the cMl rights vioiations thit occuned at
   your Burkes Outlet Store in Bay Minette, Alabama against me, which resulted in me
   b:ing falsely arrested fo_r fespassing solely because of my religion and the exercise of my
   religion to pray. I am a known civil and religious rights advocite here in Batdwin
   County, Alabama and I am also an attorney pro se. I will be representing myself 4gainst
   Burkes Outlet if litigation is necessary and Burkes Outlet Stores, Inc. dJcidls not to settle
   this matter

   The actions of the Burkes Outlet Store employee ("Carol") were in direct violation of
   Title tI of the 1964 Civjl Rights Acto in that she intentionally discriminated against me
   sglely because of my sincerely held teligious belief to ptuy in which she pers6naily
   disagrees with. *Carol" teated me in the same mannei as she would have handled a
   person who had committed a criminal offense within your store but it was not because I
   had committed any violation of law or violated any known store policy. It was simply
   because I said aprayer according to my sincerely held religious belief-ttrat'oCarol'ihad
   me falsely arrested for frespassing and further trespassing me from alt of the Bgrkes

   newspaper.

   Thil twe of egregious religious discrimination by your employee is the very cause for the
   estabtrishment of Title II ofthe 1964 Civil Rights Act, which gives apersonwho has been
   discriminated against by a business that serves the general pu6lic, ttre tauru right to sue
   the business in Federal Court for money damages. As a result of your employee's biased
   and unlawful treatment of myself Ihave suffered embarrassmen! mentalanguish, pain,
   public humiliation, strsso and false arrest and imprisonment for which I am due money
   damages,




    Lv-h;b;+ A
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     Your employees "Carolo'and *Tim' have further made your business's religious
     discriminatory actions subject to being exposed to the community through public protests
     in front of your stores, through the use of various internet search engines, througtr-
     contacting various news media and by word of mouth to local Churches and national
     Christian organizations who spend money in your store, in which protests on the public
     properly will possibly bankrupt your stores in this area Whenever a private business such
     as yours has opened itselfto serve the general public and demonstrates this kind of
     blatant discriminatory practice 4gainst a Christian for praying, such a business is not
     worthy of being pahonized by the very class of people that it discriminates against. If you
     do not settle, we will also initiate a boycott and protest of Burkes Outlet Stores based
     upon your bold stance against your religious or Christian customers.

    Another issue in which Burkes Corporation needs to be aware of is there are white-collar-
    crimes (i.e.: the mayor; attorneys and police) involved with my false arrest and
    imprisonment in which the FBI, Attorney General, the Department of Justice and the
    Alabama Bureau of Investigation have been notified. Before the false arrest, I sent the
    mayor and the plice from the city of Bay Minette a'Notice of claim," when they
    attempted to ban me from your store based upon my Rehgion" but in retaliation and to
    intimidate me, I was fasely anested by the City of Bay Minette police. The mayor and the
    City police are represented by the comrpt attorney Scott Lewis who is not only the
    attorney for the City of Bay Minette, Alabama, but he is also the attomey for the Baldwin
    County Board of Education in,which I have been in litigation with over other vioglations
    fo my constitutional rights for about four (a) years now in which their attomey fees have
    exceeded over $30,000.00 according to their representative (please see Exhibit C).

     unknovrnto you,I believe, Burke outlet's is being used bythe comrpt officials to
     clandestine$ falsely arrest myself and my husband with fatse imprisonment based upon
     criminal misconduct, illegal conspiracy to violate constitutional rights and to defame me
     in the eyes of the public and in the eyes of the Judge (i.e.: who is in charge of the Bethel
     vs. Baldwin County Board of Education) and harassment which are crimis, The comrpt
     city officials have gotten together with your employees to give the appearance that I am
     causing disruptions inprivate andpublic places so thatthe judge would BAN me from
    the public school            in which the Baldwin Coun8 Board of Education
    leing   ANTI-CHRISTS,      has requested from the judge. So fat, ttre juagi renrses to give
    them a resftaining order to BAl.l me from the public property and they are desperately
    seeking other venues in orderto blackbatled me inthe eyes ofthe judge. COn is witir
    me. In the same manner that I was praylng in your storeo I was also praying with people
    in the public schools and the cornrpt officials want me to be stoppe4 but just as baniel in
    the Lion's Den, I will NOT stop prayurg in the private and the puUtic arena and the
    federal laws back me in my Religious belief of "proselytizing." Your and your store have
    been used in order to create false criminal oharges against myself as revenge and
    retaJiation by the City of Bay Minette and their comrpt attorney.

    As a result, to settle this issue in full without having to initiate litigation in Federal
    Court, among the other listed actions, I am requiring as a settlement:




     Lr.hb;* A [z)
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             $5,000.00 cash for my damages and;

             Burkes outlet Stores, Inc. to drop all the false criminal
                                                                         charges against me and;

             Burkes outlet Stores, Inc proclaim the current tespass issuance
                                                                                 null and void;
             I am also.requesting that BorH'ocaror" and o.Tim'o be fired
                                                                             as a resurt of their
             insubordination; criryinal activity to violate u*ir .onstituiioour
                                                                                 rights and their
            attempts to stop me from pr,aying and stop me from exercising
                                                                              my-Religion and
            banning me from the store uasea soEyupon.y R"iGi;;
                                                                            and their failure to
            serve the 'Trlotice of claim," to the cEo and their refusil
            their actions against myself;
                                                                        to notiff the cEo    ;i
            cease any and all haras^sment from any other Burkes outlet
                                                                       stores, Inc.
            employees against my family and me and to firrther
                                                               be teated in the srune mamer
            as other patrons.

        Iam expecting              the requested monies in the fonn of a check in
                        lo.recelye                                                my name
        along with all of the ot}er settlement agreement requests
                                                                  by Friday,JJ;      zi,zoog.
    In Jesuso tulme,




    Orlando Bethel (Attomep pio Se)
                                                       Dated:   J7 *r"t     py^os.
                                                                            VU

                  (Attomey, PtoTe)




   PhonelFax : QS t) 9 64-995 s

   (Please pray: Father, GoD in the nome of JES(IS,
                                                      I repentfor my sins. I berieve that
   JESUS died and rose againfor me. Please/itt me with-the
                                                             gt1t oytlp HoLy GHosT, with
   the sign of speaking in "new" tongues. I riceive JESns
                                                           iyi"tti in JESW,       ;;,r.
                                                                                      Amen.)




  sworn to and subscribed to before me on    a, lffiu, ot Woog.
           .r(dl
    [*htbi* A (e)                                                                                 g
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     My Commission Expires   * tttryflmGsJffetAR?"'t1




     Lv"h lbi+ A L'/)
